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                  EXHIBIT 4
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                                                                                                     John Clune
                                                                                       john.clune@hbcboulder.com




                                                July 18, 2024


  VIA EMAIL

  Michael Beltran
  Beltran Litigation, P.A.
  4920 West Cypress St.
  Suite 104 PMB 5089
  Tampa, FL 33607
  mike@beltranlitigation.com

         Re: Dorworth v. Greenberg, et al., Case No. 23-cv-00871

  Dear Michael,

          This letter is notice to you of our challenge to the designation of AB's entire deposition as
  confidential. Other than continuing the use of the initials "AB" instead of our client's name, we
  don't believe that any portions of the deposition qualify for such designation. Pursuant to
  paragraph 15 of the attached "Confidentiality Agreement Governing Lawsuit" agreed to in this
  case, you have ten days to file a motion seeking to continue the "confidential" protection.

         In the meantime, and also pursuant to the Confidentiality Agreement, please let me know
  your availability to confer on the matter. If there are other specific portions that you believe should
  remain confidential, we would be glad to consider those.



                                                            Respectfully,



                                                            John Clune




             921 Walnut St., Suite 200 | Boulder, CO 80302 | Tel (303) 442-6514 | Fax (303) 442-6593
                                              www.hbcboulder.com
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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

     CHRISTOPHER E. DORWORTH,

                  Plaintiff,

     v.

     JOEL MICAH GREENBERG, ANDREW W.                       Case No.: 6:23-CV-00871
     GREENBERG, SUE GREENBERG, ABBY
     GREENBERG, AWG, INC., GREENBERG
     DENTAL ASSOCIATES, LLC, GREENBERG
     DENTAL & ORTHOllONTICS, P.A.,
     GREENBERG DENTAL SPECIALTY GROUP,
     LLC, and A.B.,

                  Defendants.




                       CONFIDENTIALITY AGREEMENT GOVERNING LAWSUIT

                 This Confidentiality Agreement (hereinafter, "Agreement") is entered into between

   Plaintiff, Christopher Dorworth, and Defendants, Joel Micah Greenberg, Andrew W. Greenberg,

   Susan Greenberg, Abby Greenberg, AWG, Inc., Greenberg Dental Associates, LLC, Greenberg

   Dental &Orthodontics, P.A., Greenberg Dental Specialty Groin, LLC, and A.B (collectively, "the

   Parties" or individually a "Party") in connection with the above-referenced matter pending in the

   United States District Court for the Middle District of Florida with Lase Number 6:23-CV-00871

   and any subsequent appeals taken of such (hereinafter, "the Lawsuit'')

                 WHEREAS, the Parties acknowledge and agree discovery in this Lawsuit will include

   confidential, sensitive personal information as well as documents and information that contain or

   constitute sensitive, confidential, and/or proprietary business and financial information; and




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                 WHEREAS, the Parties wish to protect the confidentiality of such documents and

   information while completing discovery in this matter with a minimum of delay and expense;

                 WHEREAS, in light of the foregoing and for good cause, the Parties acknowledge, stipulate

   and agree as follows:

                         Scope of Confidentiality Agreement. This Agreement governs the production, use,

   and disclosure of infoi-~nation and materials produced by the Parties in response to their disclosure

   obligations under the Federal Rules of Civil Procedure; the Local Rules of the United States District

   Court for the Middle District of Florida; and discovery requests served in this Lawsuit (including, but

   not limited to; documents, inten~ogatory answers, responses to requests to admit, and deposition

   transcripts and exhibits), all information contained in those materials, and all copies, excerpts, or

   summaries of those materials.

                 2.     Designation of Confidential Materials. The Parties may, in good faith, designate

   "Confidential" any document, thing, material, testimony, or other infoi7nation (`'Discovery Material")

   that consists of or includes non-public infomlation that would reasonably be subject to protection by

   statute, rule, regulation, or precedent ("Confidential Materials"), including infot-~nation or materials

   that:

                         a)      Contain or refer to confidential or sensitive information of Parties, third
                 parties, including employees;

                        b)      Contain information that is confidential and privileged as provided by the
                 laws of the State of Florida and/or any other federal or state laws;

                         c)      Contain, refer to or constitute trade secrets or other• confidential business
                 information including, but not limited to research, development, business or financial
                 information, or other confidential and/or proprietary analyses, company guidelines,
                 policies and procedures, practices, codes, guidebooks, handbooks, market analyses,
                 business valuations, audit reports, commercial information, sales information, customer
                 proprietary information, customer lists, non-public agreements with third parties, materials
                 memorializing or relating to sensitive third party business relationships; and




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                         d)    If disclosed to a business competitor, would tend to damage the designating
                 Party's competitive position.

                 ~.     Designation of "Attorneys' E ~~e Only" Materials. ~~he Parties may, in good faith,

   designate "Attorneys' Eyes Only' any document, thing, material, testimony, or other inforn~ation that,

   in the designating Party's opinion, reflects such highly sensitive or proprieta~•y information that

   disclosure to another Party would cause personal damage or commercial damage ("AEO Materials").

   O~11y the attorneys for- the Parties, including in-house counsel, and any attorney support staff,

   paralegals, or law clerks, may review materials designated "Attorneys' Eyes Only." The attorneys

   may not share these documents or the information contained in these AEO Materials with the Parties

   or any third party except as expressly set forth in this Agreement.

                 4.     Method of Desi gnation. Confidential and AEO Materials under this Agreement shall

   be so designated by writing, typing, stamping, or other~.vise aftiYing the legend "CONFIDENT'IAL"

   or "ATTORNEYS' EYES ONLY" on each page of the document that is designated

   "CONFIDENTIAL'' or "ATTORNEYS' EYES ONLY'' in a conspicuous manner. In any production,

   the "CONFIDENTIAL" or "ATTORNEYS' EYES ONLY" documents shall each be produced in a

   separate file from documents not so designated, ~~vhich shall indicate in the filenanie that the materials

   are '`CONFIDENTIAL'' or "ATTORNEYS' EYES ONLY." If the materials being produced cannot

   be so labeled, the `'CONFIDENTIAL" or "ATTORNEYS' EYES ONLY'' designation must be made

   in some other conspicuous manner.

                 5.    Confidential Deposition or Proceeding Designations. Portions of deposition and

   legal proceeding transcripts in which the subject matter or information quoted, paraphrased,

   discussed or referred to is confidential, shall he subject to the same treatment as Confidential

   Materials as applicable. Testimony or exhibits may be designated CONFIDENTIAL on the record

   in the deposition or proceeding or by written notice within thirty (30) days of the designating Party

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   receiving the transcript. Upon receipt of the notice, the "CONFIDENTIAL" designation shall be

   promptly made to the transcripts, including exhibits, and any copies thereof, within the possession,

   custody, or control of the Parties. All deposition and legal proceeding transcripts shall be treated

   as containing Confidential Materials for the thirty (30) day period after the designating Party ]las

   received a copy of the transcript. The Parties may use Confidential Materials as an exhibit in a

   deposition, subject to such exhibit being marled CONFIDENTIAL. If deposition testimony

   concerning Confidential Materials is requested or elicited, counsel for the designating Party may

   request that the room in which the deposition is being taken shall be closed except to persons who

   are permitted access to such information under the terms of this Agreement and only for the portion

   of time that the Confidential Materials are being utilized and/or discussed.

                6.   Attorneyyes Only Deposition or Proceeding Designations. In accordance with the

   terms of this Agreement, the Parties may use AEO Materials as an exhibit in a deposition or hearing

   only when the witness is the designating Party (or a current officer, director, or employee of~ the

   designating Party). AEO Materials may be presented in deposition to a former officer, director, or

   employee of the designating Party to the extent the AEO Materials were accessible and available to

   the officer, director, or employee during the period in which the witness was an employee of the

   designating Party. AEO Materials may also be used as an e~►ibit in a deposition or hearing when the

   witness is a designated expert of any Party. If testimony concerning AEO Materials is requested or

   elicited, counsel for the designating Party may demand that the room be closed except to persons who

   are pei-~nitted access to such information under the ternls of this Agreement and only for the portion of

   time that the AEO Materials are being utilized acid/or discussed. Portions of deposition ~u1d legal

   proceeding transcripts in which t11e subject matter or information quoted, parapl~u-ased, discussed, or

   referred to as ATTORNEY'S EYES ONLY, shall be subject to the same treatment as AEO Materials.



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   Testimony or exhibits may be designated AT'TOIZNEYS' EYES ONLY nn the record in the deposition

   or proceeding or by written notice within thirty (30) days of the designating Party receiving the

   transcript. Upon receipt of the notice, the "ATTORNEYS' EYES ONLY" designation shall be

   promptly made to the transcripts, including exhibits, and any copies thereof, within the possession,

   custody, or control of the Parties. All depositions or legal hearings in which AEO Materials are used

   or raised shall be treated as ATTORNEYS' EYES ONLY for the thirty (30) day period after the

   designating Party has received a copy of the transcript.


                 7.   Failure to Desi~:nate. The failtu~e of any Party to designate information or

   documents as CONFIDENTIAL or ATTORNEYS' EYES ONLY in accordance with this

   Agreement, and the failure to object to such a designation, shall not preclude a subsequent

   designation or objection to the designation of such information or documents as CONFIDENTIAL

   or ATTORNEYS' EYES ONLY. From the time the designating Party provides written notice of

   the designation to counsel for the receiving Party, such discovery materials shall be treated in

   accordance with their designation under this Agreement. The designating Party shall provide the

   receiving party with a substitute copy of the materials bearing the legend CONFIDENTIAL or

   ATTORNEYS' EYES ONLY, whereupon the undesignated copies shall be returned to the

   designating Party or destroyed, as directed by the designating Party.


                 8.   Use of Confidential Materials .Confidential Materials including any summaries,

   copies, abstracts, testimony, or documents derived in whole or in part from Confidential Materials,

   may be used solely in accordance with this Agreement. Except as expressly exempted in this

   Agreement, the Parties shall use the Confidential Materials only for the purposes of prosecution,

   defense, or settlement of the Lawsuit or to enforce an award or judgment entered arising from the

   Lawsuit, and for no other purpose.


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                     9.     Permitted Disclosure of Confidential Materials. Confidential Materials ~~roduced

    pursuant to this Agreement may be disclosed or made available only to:

                             a)      A trier of fact or la~v in the United States District Court for the Middle
                       District of Florida, Orlando Division, where this matter is pending, and any court to
                       which an appeal of the Lawsuit may arise, as well as the cotu~ts' administrators, under a
                       request of seal;

                            h)     'I~he Parties, including only present officers, directors, and other employees
                      of the Parties, to the extent reasonabl} necessary for the prosecution, defense or
                      settlement of this Lawsuit;

                           c)     The Parties' outside and in-house counsel c1I1CI their respective support
                      personnel whose functions require access to the Confidential Materials;

                            d)      Witnesses.. and their counsel; to the extent reasonably necessary to prepare
                      for or give deposition, hearing, or trial testimony in the Lawsuit;

                            e)     Outside vendors ~~vho perform copying, ecliscovery or similar clerical
                      functions, but only for the purposes of performing such services and only so long as
                      necessary to perform those services;

                            ~      Cotu-t reporters and other persons engaged in preparing transcripts of
                      testimony or proceedings in this Lawsuit;

                            g)     Investigators retained by counsel of record for assistance in the preparation
                      or prosecution of claims or defenses in this Lawsuit;

                            h)      Experts or consultants (together with their clerical staff) retained by the
                      Parties, or their respective counsel. to assist in the prosecution, defense or settlement of
                      this Lawsuit;

                            i)     A mediator or arbitrator charged with resolving the dispute between the
                      Parties; and

                            j)     Any other person who is so designated by order of the United States District
                      Court for the Middle District of Florida, by written agreement of the designating Party,
                      or as otherwise required by law.

                     Prior to a receiving Party disclosing Confidential Material to persons identified in

   subparagraphs d, e, g, and h, those persons must review this Agreement and either: (1) sign the

   Acknowledgement and Agreement to be Bound attached as ~XI-iIBIT A to this Agreement; or (2)

   agree on the record at a deposition to be bou~ld by the terms of this Agreement.


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                 10.     Use of Attorneys' Eves Only Materials. AEO Materials. including any summaries,

    copies, abstracts, testimony, or documents derived in whole or in part fi•om AEO Materials, may

    be used solely in accorda~ice with this Agreement. The Parties shall use the AEO Materials only

    for the ptu-poses of prosecution, defense, or settlement of the Lawsuit and for no other purpose.


                 1 1.   Permitted Disclosure of Attorneys' Eyes Only Materials. AEO Materials produced

   pursuant to this Agreement may be disclosed or made available only to:

                         a)     The Court before which the Lawsuit is pending and any court to ~~~hich an
                   appeal of the Lawsi.iit may arise, as well as the courts' administrators, under a request of
                   seal;

                        b)      Law enforcement pursuant to a duly executed subpoena with notice to the
                   designating Party and to which no objection has been made:

                        c)     The Parties' outside and in-house counsel and their respective support
                   personnel whose functions require access to the AEO Materials; and

                         d)      Experts or consultants (together with their clerical staffl retained by the
                   Parties, or their respective counsel, to assist in the prosecution, defense or settlement of
                   the Lawsuit.

                 Prior to a receiving Party disclosing AEO Materials to persons identified in subparagraph

   d, those persons must review this Agreeii~ent and either: (1) sign the Acknowledgment and

   Agreement to be Bound attached as EXHIBIT A to this Agreement; or (2) agree on the record at

   a deposition to be bound by the terms of this Agreement.

                 In the event that counsel for a Party determines in good faith that counsel needs to disclose

   AEO Materials to a person other than those set forth above in this paragraph (and outside of a court

   order), counsel shall seek the designating Party's written consent to such further disclosure. In the

   event that the designating Party is unable or unwilling to consent, counsel may petition the United

   States District Court for the Middle District of Florida to authorize further disclosure of the AEO

   Materials, taking into consideration alternative measures to appropriately protect the highly



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    sensitive and proprietary information. In the e~~ent that a Party is subpoenaed or receives another

    form of court order to produce AEO Materials to a person other than those set forth above in this

    paragraph, cowZsel shall immediately notify counsel for the designating Party so that the

    designating Party has sufficient time to move to quash the subpoena or otherwise challenge the

    court order.


                12.   Exemptions for Authors and Materials Independently Obtained or Publicly

    Available. Nothing in this Agreement shall restrict the Parties fi~om presenting documents or

    information marked Confidential or AEO to the author of the document; the recipient of the

    document; or any person identified on the face of the document. The Parties do not waive a

    Confidential or Attorneys' Eyes Only designation by presenting those materials, in accordance

    with the terms of this Agreement, to an author or recipient or the person identified on the lace of

    the document. Additionally, regardless of whether the same materials were produced during this

    Lawsuit, the restrictions hereunder will not apply where Confidential or AEO Materials are

   lawfully obtained or publicly available to a receiving Party, independent of discovery in this

   Lawsuit.

                13.   Subpoenas for Confidential Materials or AEO Materials. If a Party who is not the

   designating Party is in possession of Confidential Materials or AEO Materials and receives a court

   order seeking production or disclosure of such materials, the Party shall immediately give written

   notice to counsel for the designating Party. The notice shall identify the Confidential and/or AEO

   Materials sought and the deadline for production or disclosure so that the designating Party can move

   to quash or otherwise object to the order requiring production or disclosure.




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                     Further, third parties who receive a subpoena in this lawsuit from a Party for information and

    materials that qualify as CONFIDENTIAL may designate the materials as Confidential in

    accordance with and be bound by this Agreement.

                     14.    Filing of Confidential Materials and AEO Materials Under Seal. If the non-

    designating Party intends to submit Confidential Materials or AEO Materials or any copy, extract,

    summary, or derivative thereof to the Court, it shall confer with counsel for the designating Party

    and any other Party that may have an interest in the designation to determine whether those Parties

    approve of the materials being filed publicly. If an}~ Party wishes for the Confidential Materials

   or AEO Materials to be filed under seal, the tiling Party shall file such under seal, however the

   requesting Party shall assume the obligation to confer over and move the Court to approve

   maintaining the tiles under seal.

                     1 ~.   Designation Challenges. The Party receiving Confidential or AEO Materials may

   challenge the designation at any time through conferral with the designating Party. Ii~the designating

   Party intends to maintain the designation, they must file a motion directed to the United States

   District Court for the Middle District of Florida or otherwise act in conformity with the Court's

   practice standards for resolving discovery disputes within ten (10) days of receiving notice of t11e

   challenged designation. In the event a designation is challenged, the designating Party bears the

   burden of proof that such documents and/or information contain or consist of sensitive infoi-~nation,

   trade secrets, confidential proprietary business information, or are otherwise subject to protection

   pursuant to applicable law. Further, where an ATTORNEYS' EYES ONLY designation is

   challenged, the designating Party bears the burden to establish the materials include infoi-~nation that

   is so highly sensitive or proprietary that the CONFIDENTIAL designation is insufficient to prevent

   potential commercial and/or personal damage. The Parties agree to treat materials designated


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    CONFIDENTIAL or ATTORNEYS' EYES ONLY in the maiuler set forth in this Agreement unless

    and until the Court rules that the materials may be treated otherwise or should the designating Party

    tail to file a motion or otherwise act in conformity with the Court's practice standards for resolving

    discovery disputes within the time period set forth above.

                  16.   No Waiver of Objections or Privilege. The execution of this Agreement shall not

    constitute a waiver of any Party's right to withhold information on the grounds of privilege or immunity

    6•om discovery, or to object to the production of Confidential or AEO Materials on any legal basis. In

    the case of inadvertent production of privile~~ed material, upon vv~•itten request by the designating

    Party, the receiving Party shall: (a) return the original and all copies of such inadvertently produced

    privileged documents, or destroy them, if return is impossible; (b) shall not review, copy, or

    disseminate the privileged documents or infoi7nation; (c) shall instruct any person to whom such

    materials have been disseminated of their obligation not to review, copy, or disseminate the materials

    and of their obligation to return or destroy them; and (d) shall not use such documents or intoi7nation

    for any purpose absent fiu-ther ruling by the Court.

                  17.   No Admission. The execution of this Agreement, and any disclosure or use of

    information or documents, in whatever form, pursuant to this Agreement, shall not be deemed an

    admission, waiver, or agreement by any Party to a designation of CONFIDENTIAL or

    ATTORNEYS' EYES ONLY nor to the merits of any claims or defenses raised in this Lawsuit.

                  18.   Continuing Effect and Jurisdiction. This Agreement shall survive tl~e final

   disposition of the Lawsuit and the employment termination of any person why had access to

   Confidential or AEO Materials under this Agreement.

                  19.   Post-Action Return or Destruction. No later than thirty (30) days following final

   disposition of the Lawsuit, including all appellate proceedings or the expiration of time to commence


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    such appellate proceedings, the Parties shall assemble and return to the designating Party all

    Confidential Materials and AE0 Materials, including any copies, extracts; and summaries of same,

    or, by mutual written agreement, shall certify in writing that the Confidential, and AE0 Materials

    have been destroyed except that all attorneys of record or associate counsel shall be pet-~nitted to

    maintain confidential copies of such files for purposes of maintaining a complete case file and as

    otherwise required for compliance with malpractice insurance coverage obligations.


                 20.   Purpose of Confidentiality Agreement. This Agreement is entered for the purpose

    of protecting Confidential and AE0 Materials and facilitating the exchange of documents and

    information between the Parties without unnecessarily involving the Court in the process.

                 21.   Lead Counsel of Record. The Parties acknowledge, stipulate, and agree that lead

   counsel of record for the Parties in the Lawsuit may sign this Agreement on behalf of their

   respective clients and that their signature binds their respective clients to the terms and conditions

   of this Agreement.

                               SIGNATURE AND ACKNOWLEDGEMENT PAGE

     For Plaintiff, Christopher Dorworth                For Defendant, Joel Micah Greenberg

     Signature: _                                       Signature: _

     Print Name:                                        Print Name:

     Print Title:                                       Print Title:

     Date:                                              Date:




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      For Defendant, Andrew W. Greenberg                           For Defendant, Susan Greenberg

     Signature:                                                    Signature:

      Print Name:                                                  Print Name:

      Print 'l~itle:                                               Print Title:

      Date:                                                        Date:

     For Defend         bby Greet          rg                      For Defendant; AWG, Inc.

     Signature:        S ~~    _                                   Signature:

     Print Name:          ~~1          ~        ~r                 Print Name:

     Print Title:             r~                                   Print Title:

     Date: ~~                      ~                               Date:

     For Defendant, Greenberg Dental Associates, For Defendant, Greenberg                           Dental   &
     LLC                                         Orthodontics, P.A.

     Signature:                                                    Signature:

     Print Name:                                                   Print Naine:

     Print Title:                                                  Print Title:

     Date:                                                     Date:

     For Defendant, Greenberg Dental Specialty                 For Defendant, A.B.
     Uroup, LLC

     Signature:                                                Signature:

     Print Name:                                               Print Name:

     Print Title:                                              Print Title:

   '~ Date:                                                    Date:




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                                               EXHIBIT A

                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

     CHRISTOPHER E. DORWORTH,

                Plaintiff,

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     JOEL MICAH GREENBERG, ANDREW W.                       Case No.: 6:23-CV-00871
     GREENBERG, SUE GREENBERG, ABBY
     GREENBERG, AWG, INC., GREENB~RG
     DENTAL ASSOCIATES, LLC, GREENBERG
     DENTAL &ORTHODONTICS, P.A.,
     GREENBERG DENTAL SPECIALTY GROUP,
     LLC, and A.B.,

                Defendants.




                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
               The undersigned hereby acknowledges having read the Confidentiality Agreement dated

                                _, 2023 in the above-captioned action, and understands and agrees to

   be bound by the terms thereof. The undersigned hereby submits to the jurisdiction of the United

   States District Court for the Middle District of Florida, Orlando Division in matters relating to the

   Confidentiality Agreement.

   Name:


   Job Title:


   Employer:


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    E3usiness Address:




    Signature:                                    Date:




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